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Description Appearance Sheet for the United States District Court Western District of Virginia
              Charlottesville Division; Sines, et al v. Kessler, et al; Case No 3:17CV72; Date:
              3/1/19; Type of Hearing: Telephonic Motion and Discovery Hrg: Parties: 1. Joel
              Hoppe, USMJ, 2. Michael Bloch, 3. Alan Levine, 4. Yotam Barkai, 5. Gabriell Tenzer,
              6. James Kolenich, 7. Jeff Schoep, 8. James Stern; Recorded by. Heidi Wheeler;
              Time in Court: 36 min.

Date          3/1/2019 Location [CVILLE-3FTR]
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Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

    Time        Speaker                                        Note
10:06:17 AM   1
10:06:47 AM   2             Michael Bloch
10:06:47 AM   3             Alan Levine
10:06:49 AM   4             Yotam Barkai
10:07:08 AM   1
10:07:10 AM   6             James Kolenich
10:07:11 AM   1
10:07:26 AM   7             Jeff Schoef
10:07:27 AM   1
10:07:35 AM   8             James Stern
10:07:36 AM   1
10:09:38 AM   7
10:09:39 AM   1
10:10:51 AM   7
10:11:03 AM   1             14 days to hire counsel
10:11:37 AM   7
10:11:39 AM   1
10:11:51 AM   6             Moving to withdraw
10:12:24 AM   1
10:12:45 AM   8             Intends to hire counsel
10:13:29 AM   1             Court will grant Motion to withdraw
10:13:50 AM   7
10:14:23 AM   1             14 days to hire counsel
10:15:31 AM   8
10:15:44 AM   1
10:15:51 AM   7
10:16:14 AM   1
10:16:42 AM   7
10:17:27 AM   1
10:17:57 AM   7,1
10:18:49 AM   2             Discovery and Counsel issues addressed
10:19:37 AM   1
10:20:16 AM   7,1           Court will order the signing of the contract
10:21:49 AM   7,1
10:24:23 AM   1,7
10:25:58 AM   1
10:26:18 AM   7,8
10:26:21 AM   1
10:26:55 AM   2
10:26:58 AM   1
10:27:42 AM   8
10:27:44 AM   1,8


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Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

10:28:22 AM   1,2
10:29:14 AM   1,7,1,8
10:30:05 AM   1,8
10:30:39 AM   1,8
10:31:53 AM   1
10:33:02 AM   8,1
10:33:43 AM   2
10:33:46 AM   1,2
10:34:58 AM   1
10:35:58 AM   2
10:36:59 AM   1
10:37:03 AM   8
10:37:32 AM   1
10:38:08 AM   8,1
10:38:11 AM   2
10:38:40 AM   1
10:40:14 AM   2
10:40:15 AM   1
10:41:00 AM   6
10:41:01 AM   1, 7,8
10:41:05 AM   1
10:41:08 AM   7
10:41:09 AM   1
10:41:12 AM   8
10:41:34 AM   1
10:41:52 AM   8
10:41:53 AM   1
10:42:14 AM   2
10:42:14 AM   1
10:42:15 AM   END




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